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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 ASIAN AMERICANS ADVANCING
 JUSTICE-CHICAGO, CHANGE ILLINOIS,
 CHICAGO VOTES EDUCATION FUND,
 COMMON CAUSE ILLINOIS, ILLINOIS
 COALITION FOR IMMIGRANT AND
 REFUGEE RIGHTS, and ILLINOIS
 PUBLIC INTEREST RESEARCH GROUP
 EDUCATION FUND

                 Plaintiffs,
                                                                    Case No. [_]
 v.

 JESSE WHITE,
 in his official capacity as the Illinois
 Secretary of State, and ILLINOIS STATE
 BOARD OF ELECTIONS


                 Defendants.



                                          COMPLAINT

                                 NATURE OF THE ACTION

        1.      Voting is a fundamental right in any democracy. In the United States, the first

barrier to voting is voter registration. If citizens are not registered to vote, they cannot exercise

their right to franchise. As such, any laws that assist with voter registration and make it more

accessible must be fully and fairly implemented.
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           2.       When Illinois enacted Automatic Voter Registration 1 (“AVR” or the “AVR

Statute”) in 2017 with unanimous bipartisan support and endorsements from a diverse

collection of more than 65 non-partisan organizations from around the state, Illinois was

regarded as a leader in voter registration modernization. The goal of the AVR Statute was to

provide fair registration access to the over one million eligible but unregistered voters in

Illinois while also improving the accuracy and security of the state’s voter rolls.

           3.       The passage of the law also signaled an opportunity to address longstanding

racial disparities in voting access, as well as comparatively, low levels of voter registration and

participation by young voters.         According to United States Census Bureau data, voter

registration rates for Black, Latino, and Asian citizens lag behind the registration rate for White

citizens in the state.2 These disparities are further exacerbated for citizens of color who are

limited English proficient. In passing the AVR law, Illinois government and community

leaders recognized that automatic voter registration could narrow gaps in access to voter

registration and increase civic engagement.

           4.       Unfortunately, the promise of voter modernization and inclusivity has not only

gone unfulfilled, it now appears that even basic voter registration services are mishandled in

disregard of repeated calls for transparency and accountability by non-partisan organizations

in the state.



1
    Illinois Public Act 100-464.
2
 See UNITED STATES CENSUS BUREAU, Voting and Registration in the Election of November 2018, available at
https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-583.html; UNITED STATES
CENSUS BUREAU, Voting and Registration in the Election of November 2016, available at
https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-580.html.



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       5.      After the Illinois Secretary of State’s Office (the “SOS”) delayed

implementation of the AVR Statute multiple times with no coherent explanation, in December

2018, Plaintiffs notified SOS and the Illinois State Board of Elections (the “SBOE”) that the

State was violating the voter registration rights of its citizens by willfully ignoring its

obligations under the National Voter Registration Act (the “NVRA”) and the AVR Statute.

After nearly two years’ worth of efforts to engage SOS and collaborate on proper

implementation, and a subsequent notice letter identifying SOS’s and SBOE’s additional

failures to comply with the NVRA, the Voting Rights Act (the “VRA”), and the AVR Statute—

Plaintiffs can no longer keep waiting for Defendants to voluntarily comply with the law and to

use a sound approach to AVR implementation. Defendants remain steadfast in their refusal to

correct their failures—while Illinois citizens’ fundamental right of access to the ballot is

trampled upon. This action seeks to correct Defendants’ wrongs and to ensure that those who

wish to exercise their fundamental right to vote may do so.

       6.      Defendants’ failure to implement voter registration services that comply with

the NVRA, the VRA, and the AVR Statute has caused a belief among Illinois citizens that the

very people tasked with protecting their fundamental right to vote are missing opportunity after

opportunity to correctly implement the law. Although Plaintiffs have tried to fill the void, in

doing so, they are forced to expend their limited resources to ensure that voters are properly

and timely registered. Defendants’ violations require these organizations to divert resources

away from their core activities, which include non-partisan voter registration and education

and civic engagement efforts.




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                               JURISDICTION AND VENUE

        7.       Plaintiffs bring this action under Section 11(b) of the NVRA, 52 U.S.C.

§ 20510(b), and Section 203 of the VRA, 52 U.S.C. § 10503, et seq. This Court has subject

matter jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1343(a), and 28

U.S.C. § 1367.

        8.       Defendants have received notice of these violations of federal law and have

failed to correct the violations alleged here within the designated time frame. Plaintiffs

therefore have a private right of action under 52 U.S.C. § 20510(b) to enforce the NVRA and

may file suit after appropriate and timely notice pursuant to 52 U.S.C. § 20510(b)(2). Exhibit

A contains the first notice provided to Defendants on December 13, 2018. Exhibit B contains

the subsequent notice provided to Defendants on January 28, 2020.

        9.       This Court has personal jurisdiction over each Defendant because each is a

citizen of the State of Illinois and each of the acts and omissions giving rise to this action

occurred in Illinois.

        10.      Venue in this district is proper under 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in this district, and each Defendant resides

in and conducts business in this district.


                                             PARTIES

        11.      Plaintiff Asian Americans Advancing Justice Chicago (“Advancing Justice-

Chicago”) is a non-profit organization with its principal place of business in Chicago, Illinois.

Advancing Justice-Chicago is a grassroots, non-partisan organization building power in

communities of color through civic engagement and voter registration, education, mobilization,



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and advocacy. Advancing Justice-Chicago serves individuals of all ages including high school

English learners, adult English learners, and at-large community members.

       12.     Plaintiff CHANGE Illinois is a non-profit organization with its principal place

of business in Chicago, Illinois. CHANGE (the Coalition for Honest and New Government

Ethics) Illinois is a non-partisan organization advocating for government ethics, election and

efficiency reforms. CHANGE Illinois works with Illinois residents to create a government that

is transparent, accountable, and responsive to its constituents.

       13.     Plaintiff Chicago Votes Education Fund (“Chicago Votes”) is a non-profit

organization with its principal place of business in Chicago, Illinois. Chicago Votes is a non-

partisan organization whose mission is to build a more inclusive democracy. Chicago Votes

prioritizes empowering and educating young Chicagoans and their initiatives are rooted in

voter registration, voter education, and voter action.

       14.     Plaintiff Common Cause Illinois is a non-profit organization with its principal

place of business in Chicago, Illinois. Common Cause Illinois is a non-partisan, grassroots

organization dedicated to fair elections and making government at all levels more democratic,

open, and responsive to the interests of all people.

       15.     Plaintiff Illinois Coalition for Immigrant and Refugee Rights (“ICIRR”) is a

non-profit organization, with its principal place of business in Chicago, Illinois. ICIRR is a

grassroots, non-partisan organization building power in underrepresented immigrant and

refugee communities through civic engagement and voter registration, mobilization, and

advocacy.




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       16.     Plaintiff Illinois Public Interest Research Group Education Fund (“Illinois

PIRG”) is a non-profit organization with its principal place of business in Chicago, Illinois.

Illinois PIRG is a nonpartisan group whose mission is to protect consumers and promote good

government through investigating problems, crafting solutions, educating the public, and

offering meaningful opportunities for civic participation.

       17.     Plaintiffs constitute the steering committee of the Just Democracy Illinois

coalition that sent the aforementioned notice letters, advocated for the passage of the AVR

Statute, and has sought to serve as a resource regarding AVR implementation.

       18.     Defendants are state officials charged with ensuring Illinois’ compliance with

52 U.S.C. § 20504. SBOE serves as Illinois’ chief election officer. Each state’s chief election

official is responsible for coordinating that state’s compliance with the NVRA. 52 U.S.C.

§ 20509.

       19.     Defendant Jesse White is the Illinois Secretary of State and is sued in his official

capacity given the NVRA’s requirements regarding voter registration through driver’s license

offices. SOS is responsible for providing driver’s license services in the state of Illinois.

       20.     Additionally, SOS and SBOE are responsible for ensuring the State’s

compliance with AVR during relevant transactions through driver’s license offices, which

constitute a large proportion of voter registrations in the state and include opt-out registration

(see infra ¶¶ 32-41), the cornerstone of the AVR Statute.




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                                           APPLICABLE LAW

                                          Section 5 of the NVRA

         21.      Congress enacted the NVRA “to establish procedures that will increase the

number of eligible citizens who register to vote,” and to increase access to this “fundamental

right.” 52 U.S.C. § 20501. Under the NVRA, a state’s chief election official is responsible

for ensuring compliance with Section 5. See 52 U.S.C. § 20509.

         22.      Section 5 of the NVRA, 52 U.S.C. § 20504 et seq., seeks to streamline the

federal voter registration process, improve accessibility to voter registration, and increase the

number of qualified voters properly registered. See, e.g., S. Rep. No. 103-6 (1993).

         23.      Per Section 5 of the NVRA, each time an eligible Illinois applicant obtains,

renews, or updates their driver’s license or state-issued ID3 (including submitting a change of

address), the State must provide a simultaneous voter registration application. 52 U.S.C.

§ 20504(a)(1) & (d).4 In doing so, the State may not collect “duplicative” voter information,

other than a second signature, which serves as an attestation of the applicant’s voter eligibility.

See id § 20504(c)(2).

         24.      Voter registration processes that are complicated, redundant, or lengthy have

been used throughout American history to exclude eligible voters of color from participating



3
  Pursuant to 52 U.S.C. § 20502(3), the NVRA defines a “motor vehicle driver’s license” to “include[] any
personal identification document issued by a State motor vehicle authority;” as such, hereinafter, any reference
to a driver’s license shall include a state personal identification card. However, any reference to a driver’s
license in this complaint does not refer to a temporary visitor’s driver’s license. It should be noted that the
AVR Statute specifically excludes temporary visitor’s driver’s licenses. See 10 ILCS 5/1A-16.1.
4
 Plaintiffs refer collectively to these driver’s license transactions—application, renewal, and change of
address—as “covered transactions” hereinafter.

                                                                                                            (cont’d)


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in elections and exercising political power. 5 The NVRA was enacted precisely to combat

“discriminatory and unfair registration laws and procedures [that] can have a direct and

damaging effect on voter participation . . . and disproportionately harm voter participation by

various groups, including racial minorities.” 52 U.S.C. § 20501(a)(3).

        25.      The voter registration portion of the application shall also include a statement

setting forth eligibility requirements for voter registration, as well as a statement informing the

applicant that their declination to register to vote – or, if they registered to vote, the office

where they registered to vote – will remain confidential.                    Id. § 20504(c)(2)(C); id.

§ 20504(c)(2)(D).

        26.      Pursuant to Section 5 of the NVRA, a driver’s license change of address shall

automatically serve as an update to an individual’s voter registration unless they decline such

an update. 52 U.S.C. § 20504(d).

                                Section 203 of the Voting Rights Act

        27.      In 1975, Congress added Section 203 to the VRA’s array of protections after

recognizing the strong link between limited English proficiency and low voter participation,

as well as the substantial language barriers that had been erected to discriminate against eligible

voters based on national origin, educational level, and language ability. 52 U.S.C. § 10503(a).

        28.      The purpose of Section 203 of the VRA is to provide limited English proficient

citizens in covered jurisdictions with the same information and opportunities to participate in


5
  See, e.g., CHRISTINA R. RIVERS, THE CONGRESSIONAL BLACK CAUCUS, MINORITY VOTING RIGHTS, AND THE
U.S. SUPREME COURT (2014), pages 79-80 (describing racial discrimination that occurred even after the passage
of the federal Voting Rights Act of 1965, which included subtly worded policies such as reregistration
requirements that effectively and disproportionately purge minorities from voter registration rolls).




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the electoral process as those in the electorate who speak English very well. In other words,

every American citizen has the right to make an informed choice regarding voter registration

and voting in the language that they are most comfortable speaking and reading.

         29.      Pursuant to Section 203 of the VRA, covered jurisdictions must provide limited

English proficient voters with translated voting materials including voter registration materials,

ballots, voter guides, and websites maintained by election officials.                      Id. § 10503(c) and

(b)(3)(A).

         30.      A jurisdiction is covered by Section 203 of the VRA if, inter alia, based on

American Community Survey data that first, “more than 5 percent of the citizens of voting age

of such State or political subdivision are members of a single language minority and are

limited-English proficient” or “more than 10,000 of the citizens of voting age of such political

subdivision are members of a single language minority and are limited-English proficient” and

second, “the illiteracy rate of the citizens in the language minority as a group is higher than the

national illiteracy rate.” Id. § 10503(b).

         31.      In Illinois, jurisdictions covered by Section 203 of the VRA include the City of

Chicago and suburban Cook County for Spanish, Chinese, and Asian Indian6 languages, as

well as Kane and Lake Counties for Spanish. See Voting Rights Act Amendments of 2006,

Determinations Under Section 203, 81 Fed. Reg. 87,532 (Dec. 5, 2016).




6
  Plaintiffs note that Asian Indian is not a language, and on information and belief, in 2012, election authorities
in Chicago and suburban Cook County started providing written assistance in Hindi and oral assistance in
Hindi, Urdu, and Gujarati after consultation with community members regarding compliance with Section 203
of the federal Voting Rights Act.



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                                       Illinois AVR Statute

        32.     In 2017, Illinois enacted AVR with unanimous bipartisan support. In enacting

AVR, the Illinois’ legislature sought to extend the protections of the NVRA and the VRA and

improve the accuracy and security of elections.

        33.     The AVR Statute was enacted in anticipation of the implementation of the

REAL ID Act of 2005, 8 U.S.C. § 1101 et seq. The REAL ID Act is a federal law that imposes

additional requirements on governmental facilities issuing driver’s licenses and identification

cards. The “opt out” part of the law, the cornerstone of the AVR Statute, registers eligible

voters applying for, renewing, or updating a REAL ID driver’s license, unless they decline to

register to vote. 10 ILCS 5/1A-16.1(b).

        34.     The AVR Statute sets forth different processes for REAL ID (“opt out”

registration) and non-REAL ID (“opt in” registration) driver license transactions.              Both

processes are described below. The purpose of the AVR statute was to modernize and

streamline all types of voter registration during driver’s license transactions as well as through

other designated agencies.

        35.     The AVR Statute also prohibits the collection of “duplicative” voter

information from a simultaneous voter registration applicant. 10 ILCS 5/1A-16.1(d). Pursuant

to the AVR Statute, SOS is required to inform individuals whether they are currently registered

to vote in Illinois, and if registered, at what address. 10 ILCS 5/1A-16.1(c). Similarly, SOS

must inform applicants about the qualifications to register to vote, the penalties for submitting

a false voter registration, and the confidentiality of an applicant’s decision to decline to register.

10 ILCS 5/1A-16.1(b-10).



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        36.     The AVR Statute also requires SOS to “review” the documents provided by an

applicant to ensure the documents do not indicate that the applicant “does not satisfy the

qualifications to register to vote. . .” 10 ILCS 5/1A-16.1(d). If identification documents do

“indicate that [an applicant] does not satisfy the qualifications to register to vote in Illinois at

his or her residence address, the application shall be marked as incomplete.” 10 ILCS 5/1A-

16.1(e).

        REAL ID Transactions

        37.     During REAL ID transactions, driver’s license applicants are required to show

documentation of lawful status.

        38.     The AVR Statute requires that a person applying for a REAL ID-compliant

driver’s license who is a United States citizen and meets other qualifications to register to vote

will be automatically registered to vote, unless that applicant opts out of being registered (“opt-

out voter registration”). 10 ILCS 5/1A-16.1(b).

        39.     The AVR Statute requires a dual-purpose, simultaneous application for a

driver’s license and voter registration, the applicant must “attest, by signature under penalty of

perjury . . . to meeting the qualifications to register to vote in Illinois. . .” 10 ILCS 5/1A-

16.1(b)(4). This “completed, signed application” then “constitute[s] a signed application to

register to vote in Illinois” unless the applicant “affirmatively declined in the application to

register to vote . . .” 10 ILCS 5/1A-16.1(e).

        Non-REAL ID Transactions

        40.     During non-REAL ID transactions, driver’s license applicants are not required

to show documentation of citizenship status.



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       41.     As such, the AVR Statute requires these applicants to (i) affirmatively choose

to register to vote (“opt-in voter registration”), and (ii) attest under penalty of perjury to

meeting voter registration eligibility requirements. See 10 ILCS 5/1A-16.1(b-5). Even after

SOS started making REAL IDs available as an option, SOS continued providing non-REAL

IDs through driver’s license offices. To this day, many driver’s license applicants throughout

Illinois still obtain non-REAL IDs and, in those transactions, applicants do not have access to

opt-out voter registration.

                                 FACTUAL ALLEGATIONS

       42.     The SOS is responsible for offering voter registrations during covered

transactions for driver’s licenses.

       43.     The current process for offering voter registration during covered transactions

as implemented by SOS personnel through driver’s license offices violates the NVRA, the

VRA, and the AVR Statute, and frustrates Illinois citizens’ ability to register to vote.

       44.     Upon an applicant’s arrival at a SOS Driver Services Facility, a SOS employee

completes a cursory check of the applicant’s documents to ensure that they have sufficient

paperwork to complete the desired transaction. The applicant first signs an electronic pinpad

confirming their name and date of birth. Then, for applications other than change-of-address

applications, the applicant proceeds to have their photo taken.

       45.     The applicant then moves to a SOS computer station, where a SOS employee

pulls up the applicant’s new photo, name, date of birth, and gender. The employee asks the

applicant a series of questions and enters the applicant’s answers into a form on the computer.




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         46.     REAL ID compliance requires the applicant to provide documentation

indicating their citizenship status and other documentation showing their age or birthday. See

6 C.F.R. § 37.11. Therefore, for REAL ID transactions, the employee verifies in real time any

documents brought by the applicant to fulfill the license or identification requirements.

         47.     During a non-REAL ID transaction, there is no requirement to produce

citizenship documentation. But applicants may do so anyways.

         48.     For both REAL ID and non-REAL ID applicants, the AVR Statute requires

SOS personnel to review information provided by SBOE about whether the applicant is a

registered voter in Illinois and, if registered, at what address. Although the AVR Statute

requires SOS personnel to inform all driver’s license applicants about their voter registration

status and registration address, on information and belief, they often do not do so.

         49.     During REAL ID transactions, if an individual has shown documentation that

they are a United States citizen and meets other qualifications to register to vote, and that

individual is not registered to vote in Illinois, the SOS employee should be prompted by the

computer system to state that the applicant will be automatically registered to vote unless they

affirmatively opt-out.7 This is known as “opt out” voter registration where the default is to

register individuals to vote.

         50.     Similarly, during non-REAL ID transactions, if an individual has presented

documentation showing that they are not a United States citizen, the SOS system should not




7
  As discussed infra ¶ 81, SOS has mistakenly sent SBOE information on a number of individuals who were
labeled as having opted out of automatic voter registration.

                                                                                                   (cont’d)


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prompt for voter registration. 8 For those individuals who have not been screened out, SOS

personnel should ask if they want to register to vote or update their voter registration. If the

applicant says “yes,” then the employee should direct the applicant to an electronic pinpad.

The electronic pinpad poses two “yes” or “no” questions—first, whether the applicant will be

at least 17 years of age by the next primary and 18 years of age by the next general election;

and second, whether the applicant is a United States citizen. This is known as “opt-in” voter

registration.

         51.    On information and belief, the applicant is then shown a signature screen with

the statement “I attest, by signature under penalty of perjury, that I meet the qualifications to

register to vote in Illinois.” This is the second signature for non-REAL ID applicants. The

qualifications to register to vote in Illinois are not listed on the signature screen.

         52.    The SOS system is not programmed to protect underage individuals from a

proffer of voter registration. The electronic pinpad screen actually mistakenly suggests that

some 16-year-olds are eligible to register, and the qualifications to register to vote are not

shown on the screen. In other words, despite having date-of-birth information to screen out

underage individuals who are too young to be eligible for voter registration, SOS does not do

so.

         53.    Then, for both REAL ID and non-REAL ID applicants, SOS personnel print

out a paper version of the information related to the applicant’s driver’s license. For REAL

ID applicants opting out of voter registration, as well as non-REAL ID applicants, there will



8
 However, SOS has mistakenly sent information on a number of non-citizen community members to SBOE
who then sent them to local election authorities who improperly registered some non-citizens to vote.



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be a section on the print-out entitled “Motor Voter.” This section asks the individual to verify

that the applicant was told about voter registration and asks the individual to confirm whether

their voter registration is current.

         54.     Both REAL ID and non-REAL ID applicants must then sign a statement

affirming that the information in the print-out is accurate. And for only REAL ID applicants

who are not opting out of voter registration, this statement also includes an affirmation of the

listed voter eligibility requirements. This is the third signature for non-REAL ID applicants

and the second signature for REAL ID applicants registering to vote.

         55.     Defendants’ delays and other actions hindered voter registration in the elections

of November 2018, February 2019, and April 2019 and present an imminent threat of doing

the same for the upcoming elections of March 2020 and November 2020. Research studies

have shown that AVR markedly increases voter registration in big and small states, as well as

states with different partisan makeups and states with different versions of AVR.9

         56.     Plaintiffs have received no response to their aforementioned notice letter sent

to Defendants on January 28, 2020.

                       Defendants Do Not Provide Voter Registration to
                    Recently Naturalized Citizens Obtaining Non-REAL IDs

         57.     Illinois residents have experienced numerous ongoing problems in obtaining

REAL IDs.10 SOS has repeatedly turned away applicants who were seeking to obtain REAL


9
 KEVIN MORRIS & PETER DUNPHY, BRENNAN CENTER FOR JUSTICE, AVR IMPACT ON STATE VOTER
REGISTRATION (Apr. 2019), https://www.brennancenter.org/sites/default/files/2019-
08/Report_AVR_Impact_State_Voter_Registration.pdf.
10
   See e.g., Stephanie Zimmermann, Real ID? Real Pain in the Neck for Illinois Residents Trying To Get One,
Nov. 8, 2019, CHI. SUN-TIMES, https://chicago.suntimes.com/2019/11/8/20955723/real-id-drivers-license-long-
lines-illinois-secretary-of-state.
                                                                                                      (cont’d)


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IDs, stated that applicants do not need a REAL ID, and stated that applicants have time before

the REAL ID law goes into effect.11 To this day, many driver’s license applicants throughout

Illinois still obtain non-REAL IDs and, in those transactions, applicants do not have access to

opt-out voter registration.

         58.      During a renewal transaction for non-REAL ID driver’s licenses, if an applicant

has, since July of 2016, shown documents indicating non-citizenship, SOS’s system fails to

prompt the employee to ask about voter registration. 12 Cf. supra ¶ 50. That is the case even if

the applicant has since become a naturalized citizen and as such is eligible to register to vote.

This process is in clear violation of the NVRA and the AVR Statute’s mandate that SOS

provide all applicants with simultaneous voter registration services. Defendants’ actions have

a disproportionate impact on immigrant communities who already face barriers to voter

registration. Citizens should not have a diminished opportunity to vote simply because they

became citizens relatively recently. Nor should they face increased burdens in obtaining voter

registration services that they are entitled to.




11
  See id. Additionally, on information and belief, a poster at Driver Services facilities states “You have
time . . . . REAL ID does not go into effect until October 1, 2020,” and “If you have a valid U.S. passport, you
are NOT required to have a REAL ID to travel.”
12
  It appears that the Driver Services software is programmed to automatically check a box stating that “I affirm
that I was asked if I would like to apply to register to vote or update my voter registration address/name and I
declined” for a whole cadre of Driver Services applicants who are not provided voter registration services,
including currently registered voters, whether or not they actually declined. This troubling problem is discussed
further infra in ¶ 62.



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             Defendants Do Not Provide Applicants with Required Information

       59.     Unlike REAL ID applications (see supra ¶ 54), non-REAL ID applicants under

the SOS’s current system are never presented with a voter attestation statement that lists voter

eligibility requirements. Defendants’ failure to fully and meaningfully provide information

regarding eligibility requirements and disclosures to those applicants is a violation of the

NVRA’s mandate that this information be provided to every applicant.

       60.     And non-REAL ID applicants are not provided NVRA-mandated disclosures.

These disclosures inform individuals that their decision to decline voter registration will

remain confidential and if they do choose to register to vote, the office through which the

applicant registered to vote will also remain confidential.

       61.     SOS does not ensure that signage setting forth eligibility requirements and

disclosures are visible during relevant transactions.

       62.     Moreover, despite the AVR Statute’s requirement that SOS personnel inform

all driver’s license applicants about their voter registration status and registration address, on

information and belief, SOS personnel are not consistently informing applicants of their voter

registration status. Additionally, on information and belief, SOS personnel are not consistently

asking applicants whether they want to register to vote. For example, SOS personnel are, in at

least some instances, giving individuals prepopulated Motor Voter paper forms with a

checkmark next to the box stating, “I affirm that I was asked if I would like to register to vote

or update my voter registration address/name and I declined” – but without having asked or

mentioned anything to those individuals about voter registration. Defendants’ failure to




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properly inform applicants of their registration status defeats the NVRA and the AVR Statute’s

primary purpose of ensuring easy and efficient voter registration.

        63.      The implementation problems layered on top of each other create serious

barriers to voter registration access. For applicants who are turned away from getting a REAL

ID and then do not receive required information about their voter registration status, voter

eligibility requirements, and their rights to confidentiality, it becomes less and less feasible for

voter registration to occur properly at a SOS driver’s license office.           Lack of required

information serves as a further barrier to voter registration for already marginalized

communities, including recently naturalized citizens and citizens with past criminal records

who are now eligible to vote.        Without proper information about voter eligibility and

registration at SOS driver’s license offices, community members who were previously legally

excluded from voting are more prone to miss the opportunity to register to vote.

              Defendants Do Not Automatically Update Voter Files for Changes of Address

        64.      Additionally, Defendants place a burden on individuals who submit a change

of address for their driver’s license. Currently individuals submitting a change of address,

whether they are registered to vote or not, are required to go through the full voter registration

process, including providing additional signatures and a new attestation.

        65.      Defendants’ actions—by creating such an unnecessary burden—cause

applicants to grow frustrated and abandon the process before SOS registers the applicant’s new

address. As a result, applicants proceed into Election Day with the wrong voter registration

address, thereby impinging on their ability to vote, in violation of the NVRA.




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         66.   The failure to automatically update an already-registered voter’s address

threatens to have a disproportionate impact on particular communities who are more likely to

be residentially mobile, such as communities of color, young people, and low-income

community members. This violation, combined with SOS’s failure to consistently inform

applicants about their voter registration status means in practice that voters might be knocked

off the voter rolls, miss the opportunity to register to vote, or have an incorrect voter

registration address, causing avoidable problems during the election simply because they have

moved.

                            Defendants Request Duplicative Information

         67.   As discussed supra in paragraphs 44 and 50, during non-REAL ID transactions,

SOS asks individuals in duplicate to verify their age in violation of the NVRA and the AVR

Statute. And, despite repeatedly requesting information about an individual’s age, SOS does

nothing to protect age-ineligible applicants. SOS not only permits age-ineligible applicants to

affirm that they meet the qualifications to register but also, for non-REAL ID applicants, SOS

compounds the problem by not listing the qualifications to register to vote on the signature

screen or the paper form associated with the process.

         68.   Furthermore, as discussed supra in paragraphs 51 and 54, during non-REAL ID

transactions, SOS asks individuals registering to vote to provide signatures three different

times.

         69.   As discussed supra in paragraph 54, during REAL ID transactions, SOS asks

individuals registering to vote to provide signatures two times.




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       70.     These duplicative requests by the SOS are in violation of the NVRA and the

AVR Statute.

       71.     Moreover, as explained infra in paragraphs 81-82, even though SOS

impermissibly requests duplicative information, it does not properly evaluate and transfer such

information in accordance with the law.

    Defendants Do Not Sufficiently Provide Voter Registration in Covered Languages

       72.     According to the Census Bureau, pursuant to the 2016 American Community

Survey, Cook County has 3,477,800 citizens of voting age, of whom 137,365 are limited-

English proficient Spanish-speaking voting age citizens, 16,170 are limited-English proficient

Chinese-speaking voting age citizens, and 13,590 are limited-English proficient voting age

citizens who speak Hindi and South Asian languages.

       73.     According to the Census Bureau, pursuant to the 2016 American Community

Survey, Kane County has 319,135 citizens of voting age, of whom 14,690 are limited-English

proficient Spanish-speaking voting age citizens.

       74.     According to the Census Bureau, pursuant to the 2016 American Community

Survey, Lake County has 456,090 citizens of voting age, of whom 11,605 are limited-English

proficient Spanish-speaking voting age citizens.

       75.     Defendants provide and conduct voter registration during driver’s license

transactions in Cook, Kane, and Lake counties.

       76.     Under Section 203 of the Voting Right Act, voter registration in Cook, Kane,

and Lake counties must be provided in covered languages. See supra ¶ 31.




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        77.     As discussed, for both REAL ID and non-REAL ID transactions, SOS

personnel ask applicants questions orally relating to voter registration, such as if they want to

register to vote or update their voter registration. See supra ¶¶ 45, 48-50. These questions are

not translated or interpreted in covered languages in the covered jurisdictions.

        78.     Additionally, during non-REAL ID transactions, applicants are prompted to

answer two questions on an electronic pinpad about their age and citizenship status. These

questions are not translated into covered languages in the covered jurisdictions.                 On

information and belief, applicants are then shown a signature screen with the statement “I attest,

by signature under penalty of perjury, that I meet the qualifications to register to vote in Illinois.”

Again, this statement at the electronic pinpad is not translated into covered languages in the

covered jurisdictions.

        79.     Additionally, even for those signs pertaining to voter registration at driver

license facilities that may have been translated, Defendants do not ensure that the signs are

visible during relevant transactions.

        80.     Defendants’ failure to fully and comprehensively provide translations for voter

registration during covered transactions for driver’s licenses violates Section 203 of the Voting

Rights Act. Without language assistance, as well as clear and sound procedures as to how

limited English proficient applicants will be treated, some citizens are being denied an equal

opportunity to register to vote. Furthermore, limited English proficient non-citizens are

needlessly vulnerable at SOS driver’s license offices, compounding the insufficient safeguards

against inadvertent registration of non-citizens, discussed further infra in paragraphs 81-82.




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         Defendants Do Not Properly Evaluate and Transfer Relevant Information

       81.     Finally, SOS sends SBOE a data file of all voter registrations and address

updates from that day or from the last few days. However, it appears that SOS has not been

carefully reviewing that information before transmitting it to the SBOE or carefully applying

information regarding voter eligibility and identification documents. Furthermore, SOS’s

Office also does not use robust design and testing procedures to safeguard against improper

transfer of information. SOS has mistakenly sent information on a number of non-citizen

community members to SBOE who then sent them to local election authorities who improperly

registered some non-citizens to vote. SOS has also mistakenly sent to SBOE information for

voter registration on a number of age-ineligible community members, such as 16-year-olds.

SOS has also mistakenly sent SBOE information on a number of individuals who were labeled

as having opted out of automatic voter registration.

       82.     The failure to properly evaluate voter registration information and to transmit

to SBOE relevant, accurate voter registration information is a violation of the NVRA and the

AVR Statute and poses devastating consequences for many people of Illinois, particularly non-

citizen community members and those who do not meet the age requirement to vote. For the

numerous people across Illinois who have since been notified by Defendants that they are not

currently eligible to vote, even if they later become eligible to vote upon meeting the age

requirement and becoming a United States citizen, Defendants’ actions are likely causing a

chilling effect on voter registration and voter participation.




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                Defendants’ Conduct Injures Each Organizational Plaintiff

        83.    Each Organizational Plaintiff is harmed by the State’s failure to comply with

the NVRA, the Voting Rights Act, and AVR.

        84.    Advancing Justice-Chicago’s mission is to build power through collective

advocacy and organizing to achieve racial equity. Advancing Justice-Chicago continually

engages in non-partisan voter registration and mobilization throughout the Greater Chicago

area.

        85.    As a result of Defendants’ actions, Advancing Justice-Chicago is forced to

divert resources to voter registration and community education and information, rather than

broader voter mobilization.      Further, Defendants’ transgressions have forced Advancing

Justice-Chicago to shift more resources to monitoring the State’s compliance with AVR,

preparing testimony for AVR implementation hearings, commenting on AVR implementation

including proposed administrative rules, and identifying examples of improper registration

procedures, for example lack of registration of eligible citizens and on the other hand improper

methods to screen out noncitizens.

        86.    Defendants’ actions have also caused Advancing Justice-Chicago to devote

significant staff time to working on education efforts, diverting the organization from its

broader democracy reform work, as well as its initiatives on language justice, immigration,

racial equity, and the Census.

        87.    CHANGE Illinois is a civic organization that advocates for voter registration

and mobilization, along with improved government ethics and efficiency. CHANGE Illinois

includes a diverse group of civic, philanthropic, business, labor, professional, and non-profit



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organizations representing Illinoisans across the state. The organization is involved with

efforts to educate citizens about their voting rights, encourage voter participation and turnout,

and increase opportunities for improved ethics and greater civic engagement. As a result of

Defendants’ actions, CHANGE Illinois is forced to divert resources from its broader mission

to advocate for government ethics, election, and efficiency reforms and has instead spent many

hours adjusting how it advocates for voter registration. Further, Defendants’ transgressions

have forced CHANGE Illinois to shift more resources to monitoring the State’s compliance

with AVR, preparing testimony for AVR implementation hearings, commenting on AVR

implementation including proposed administrative rules, and identifying examples of improper

registration procedures.

        88.     Chicago Votes is a grassroots organization involved with voter registration,

mobilization, and advocacy. The organization conducts voter registration and mobilization

throughout Cook County for community members who are eligible to vote but not yet

registered, including individuals who are in pretrial detention in Cook County Jail, as well as

individuals in high schools and college campuses. The organization registered over two

thousand eligible voters in Cook County Jail, has brought thousands of college and high school

students to elections through Parade to the Polls and guided them through election day

registration, and conducted other programs to inspire young people to become engaged in the

political process.

        89.     As a result of Defendants’ actions, Chicago Votes is forced to divert resources

to voter registration that it otherwise would not have to but for Defendants’ transgressions,

including, but not limited to, voter registration in advance of elections in November of 2018,



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February of 2019, April of 2019, and March of 2020. Further, Defendants’ transgressions have

forced Chicago Votes to shift more resources to monitoring the State’s compliance with AVR,

preparing testimony for AVR implementation hearings, commenting on AVR implementation

including proposed administrative rules, and identifying examples of improper registration

procedures.

       90.     Defendants’ actions have also caused Chicago Votes to devote significant staff

time away from its core initiatives such as engaging young community members in the criminal

justice system through voter action and mobilization.

       91.     Common Cause is a non-profit corporation organized and existing under the

laws of the District of Columbia. It is a nonpartisan democracy organization with over 1.2

million members and local organizations in 35 states, including Illinois. Common Cause

Illinois is a membership-based organization that has long worked to expand voter registration,

improve access to voting, and mobilize voters for civic engagement in their communities.

       92.     As a result of Defendants’ actions, Common Cause Illinois is forced to divert

resources from its broader mission to hold power accountable through initiatives on voting

rights, redistricting, money and influence in politics, and the 2020 Census. Additionally,

Common Cause Illinois has approximately 35,000 members who live and vote throughout the

state of Illinois, many of whom are at risk of not having fair access to voter registration and

not having their voter registration updated correctly, due to Defendants’ actions.

       93.     Additionally, Defendants’ transgressions have forced Common Cause Illinois

to shift more resources to monitoring the State’s compliance with AVR, preparing testimony




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for AVR implementation hearings, commenting on AVR implementation including proposed

administrative rules, and identifying examples of improper registration procedures.

       94.     ICIRR is a grassroots nonpartisan, nonprofit organization building power in

underrepresented immigrant and refugee communities through civic education, leadership

development, and issue advocacy.        ICIRR runs the New Americans Democracy Project

(NADP), an initiative to promote civic participation in the immigrant communities of the

Greater Chicago area. NADP conducts voter registration throughout the Greater Chicago area,

with a particular focus on new citizens in immigrant communities. During and in the lead up

to federal, state and local elections, NADP conducts get-out-the-vote efforts. Additionally,

ICIRR conducts voter registration at naturalization ceremonies at United States Citizenship

and Immigration Services and the federal courthouse.

       95.     As a result of Defendants’ actions, there is a larger group of citizens who are

eligible to vote but not yet registered, and ICIRR is forced to divert resources to register people

to vote who would have been registered or had their voter registration address updated through

the State’s driver’s license system, including, but not limited to, voter registration in advance

of elections in November of 2018, February of 2019, April of 2019, and March of 2020.

       96.     Further, Defendants’ transgressions have forced ICIRR to shift more resources

to voter education and turnout-related contact with immigrant communities. More broadly,

ICIRR is forced to divert resources to monitoring the State’s compliance with AVR, preparing

testimony for AVR implementation hearings, commenting on AVR implementation including

proposed administrative rules, and identifying examples of improper registration procedures,




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for example lack of registration of eligible citizens and on the other hand improper methods to

screen out non-citizens.

       97.     Defendants’ actions have also caused ICIRR to divert significant staff time

away from its initiatives on immigrants’ rights, the Census, leadership development, and other

activities to build power in underrepresented immigrant and refugee communities.

       98.     Illinois PIRG is a grassroots organization with a mission of protecting

consumers and promoting good government, and it conducts voter registration and

mobilization of college and university students across the state. Illinois PIRG engages in direct

voter registration and mobilization work in the Greater Chicago area as well as other parts of

Illinois. As a result of Defendants’ actions, Illinois PIRG is forced to divert resources to voter

registration that it otherwise would not have to but for Defendants’ transgressions, including,

but not limited to, voter registration in advance of elections in November of 2018.

       99.     Additionally, Defendants’ transgressions have forced Illinois PIRG to shift

more resources to monitoring the State’s compliance with AVR, preparing testimony for AVR

implementation hearings, commenting on AVR implementation including proposed

administrative rules, and identifying examples of improper registration procedures.

       100.    Defendants’ actions have also caused Illinois PIRG to devote significant staff

time away from its core consumer protection and good government initiatives through

investigating problems, crafting solutions, educating the public, and offering meaningful

opportunities for civic participation.




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                                    CLAIM FOR RELIEF

  Count I: Violation of Section 5 of the NVRA by Not Providing Voter Registration to
                              Recently Naturalized Citizens

       101.    Plaintiffs incorporate herein all the paragraphs of this Complaint.

       102.    As a consequence of their past and continuing failure to provide required voter

registration services to recently naturalized citizens in non-REAL ID transactions, Defendants

have violated, and continue to violate, Section 5 of the NVRA, 52 U.S.C. § 20504.

       103.    The failure of Defendants to comply with Section 5 of the NVRA has injured

and will continue to injure the Plaintiffs because Plaintiffs have been required to invest

additional resources in voter registration and divert resources from other activities critical to

their missions. Curing these ongoing violations will permit Plaintiffs to allocate their scarce

resources to other important activities.

       104.    Plaintiffs are aggrieved by the Defendants’ past and continuing violations of the

NVRA and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of Section 5 and to ensure the Defendants’ future

compliance with the NVRA.

 Count II: Violation of Section 5 of the NVRA by Not Providing Required Information
                                       to Applicants

       105.    Plaintiffs incorporate herein all the paragraphs of this Complaint.

       106.    As a consequence of their past and continuing failure to provide required voter

registration services that include requisite disclosures and eligibility requirements, Defendants

have violated, and continue to violate, Section 5 of the NVRA, 52 U.S.C. § 20504(c)(2)(C)

and (D).



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       107.    The failure of Defendants to comply with Section 5 of the NVRA has injured

and will continue to injure Plaintiffs because Plaintiffs have been required to invest additional

resources in voter registration and voter education (including voter eligibility) and divert

resources from other activities critical to their missions. Curing these ongoing violations will

permit Plaintiffs to allocate their scarce resources to other important activities.

       108.    Plaintiffs are aggrieved by the Defendants’ past and continuing violations of the

NVRA and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of Section 5 of the NVRA and to ensure the Defendants’

future compliance with the NVRA.

   Count III: Violation of Section 5 of the NVRA by Failing to Automatically Update
                          Voter Files with Changes of Address

       109.    Plaintiffs incorporate herein all the paragraphs of this Complaint.

       110.    As a consequence of their past and continuing failure to automatically update

voter registration information during change of address transactions, Defendants have violated,

and continue to violate, Section 5 of the NVRA, 52 U.S.C. § 20504(d).

       111.    The failure of Defendants to comply with Section 5 of the NVRA has injured

and will continue to injure Plaintiffs because Plaintiffs have been required to invest additional

resources in voter registration and divert resources from other activities critical to their

missions. Curing these ongoing violations will permit Plaintiffs to allocate their scarce

resources to other important activities.

       112.    Plaintiffs are aggrieved by the Defendants’ past and continuing violations of the

NVRA and have no adequate remedy at law. Declaratory and injunctive relief is required to




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remedy past and continuing violations of Section 5 of the NVRA and to ensure the Defendants’

future compliance with the NVRA.

 Count IV: Violation of Section 5 of the NVRA by Requesting Duplicative Information
                           for Non-REAL ID Transactions

       113.    Plaintiffs incorporate herein all the paragraphs of this Complaint.

       114.    As a consequence of their past and continuing failure to provide required voter

registration services in a streamlined, simultaneous, and non-duplicative manner, Defendants

have violated, and continue to violate, Section 5 of the NVRA, 52 U.S.C. § 20504.

       115.    The failure of Defendants to comply with Section 5 of the NVRA has injured

and will continue to injure the Plaintiffs because Plaintiffs have been required to invest

additional resources in voter registration and divert resources from other activities critical to

their missions. Curing these ongoing violations will permit Plaintiffs to allocate their scarce

resources to other important activities.

       116.    Plaintiffs are aggrieved by the Defendants’ past and continuing violations of the

NVRA and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of Section 5 and to ensure the Defendants’ future

compliance with the NVRA.

                Count V: Violation of Section 203 of the Voting Rights Act

       117.    Plaintiffs incorporate herein all the paragraphs of this Complaint.

       118.    As a consequence of their past and continuing failure to provide required voter

registration services in certain languages in Section 203-covered jurisdictions, Defendants

have violated, and continue to violate, Section 203 of the VRA, 52 U.S.C. § 10503.




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        119.   The failure of Defendants to comply with Section 203 has injured and will

continue to injure the Plaintiffs because Plaintiffs have been required to invest additional

resources in voter registration and divert resources from other activities critical to their

missions. Curing these ongoing violations will permit Plaintiffs to allocate their scarce

resources to other important activities.

        120.   Plaintiffs are aggrieved by the Defendants’ past and continuing violations of the

VRA and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of Section 203 and to ensure the Defendants’ future

compliance with the VRA.

   Count VI: Violation of the AVR Statute by Not Informing Individuals About Their
                               Voter Registration Status

        121.   Plaintiffs incorporate herein all the paragraphs of this Complaint.

        122.   As a consequence of their past and continuing failure to inform individuals

about their voter registration status, Defendants have violated, and continue to violate, the

AVR Statute, 10 ILCS 5/1A-16.1(c).

        123.   The failure of Defendants to comply with AVR has injured and will continue to

injure the Plaintiffs because Plaintiffs have been required to invest additional resources in voter

registration and divert resources from other activities critical to their missions. Curing these

ongoing violations will permit Plaintiffs to allocate their scarce resources to other important

activities.

        124.   Plaintiffs are aggrieved by the Defendants’ past and continuing violations of

AVR and have no adequate remedy at law. Declaratory and injunctive relief is required to




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remedy past and continuing violations of the AVR Statute and to ensure the Defendants’ future

compliance with the AVR Statute.

Count VII: Violation of the AVR Statute by Not Properly Evaluating and Transferring
                               Relevant Information

        125.   Plaintiffs incorporate herein all the paragraphs of this Complaint.

        126.   As a consequence of their past and continuing failure to properly assess and

transfer information on age eligibility and citizenship information, Defendants have violated,

and continue to violate, the AVR Statute, 10 ILCS 5/1A-16.1(d)-(f).

        127.   The failure of Defendants to comply with AVR has injured and will continue to

injure the Plaintiffs because Plaintiffs have been required to invest additional resources in voter

registration and divert resources from other activities critical to their missions. Curing these

ongoing violations will permit Plaintiffs to allocate their scarce resources to other important

activities.

        128.   Plaintiffs are aggrieved by the Defendants’ past and continuing violations of

AVR and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of the AVR Statute and to ensure the Defendants’ future

compliance with the AVR Statute.

    Count VIII: Violation of the AVR Statute by Requesting Duplicative Information

        129.   Plaintiffs incorporate herein all the paragraphs of this Complaint.

        130.   As a consequence of their past and continuing failure to request duplicative

information, including age and signatures, Defendants have violated, and continue to violate,

the AVR Statute, 10 ILCS 5/1A-16.1(d).




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       131.    The failure of Defendants to comply with the AVR Statute has injured and will

continue to injure the Plaintiffs because Plaintiffs have been required to invest additional

resources in voter registration and divert resources from other activities critical to their

missions. Curing these ongoing violations will permit Plaintiffs to allocate their scarce

resources to other important activities.

       132.    Plaintiffs are aggrieved by the Defendants’ past and continuing violations of

AVR and have no adequate remedy at law. Declaratory and injunctive relief is required to

remedy past and continuing violations of the AVR Statute and to ensure the Defendants’ future

compliance with AVR.

                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

       i.      Declare that the Defendants have violated, and are continuing to violate, Section

5 of the NVRA, Section 203 of the Voting Rights Act, and the AVR Statute, by failing to

provide lawfully compliant voter registration opportunities;

       ii.     Issue permanent injunctions ordering the Defendants, their officers, agents,

employees, and successors in office, and all persons in active concert or participation with

them, to develop, implement, and enforce practices and policies to ensure compliance with

Section 5 of the NVRA, Section 203 of the VRA, and the AVR Statute, through the proper

implementation of AVR voter registration;

       iii.    Direct the Defendants, under a court-approved plan with appropriate mandatory

reporting requirements and stakeholder monitoring, to take all actions necessary to remedy the




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past and continuing violations to ensure that all persons affected by Defendants’ violations are

provided access to voter registration and the ballot in future elections;

       iv.       Direct Defendants, under a court-approved plan with appropriate mandatory

reporting and monitoring requirements, to take all actions necessary to ensure future

compliance with the requirements of Section 5 of the NVRA, Section 203 of the VRA, and the

AVR Statute, including, without limitation, to implement AVR-compliant practices and

policies for offering compliant voter registration services to individuals engaging in all covered

transactions;

       v.        Award Plaintiffs reasonable attorneys’ fees, litigation expenses, and costs

incurred in connection with this action, pursuant to 52 U.S.C. § 20510(c);

       vi.       Retain jurisdiction over this action to ensure that Defendants comply with any

order(s) issued by this Court and with their obligations under the NVRA, VRA, and the AVR

Statute; and

       vii.      Grant such additional relief as this Court deems just and proper.



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     Dated: February 28, 2020              Respectfully submitted,


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